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                              UNITED STATES DISTRICT COURT FOR THE
                                  SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION

                      Case Number: 19-20592-CIV-MARTINEZ-OTAZO-REYES

  VASSILIOS KUKORINIS, individually and on
  behalf of all others similarly situated,

            Plaintiffs,

  vs.

  WAL-MART STORES, INC.,

        Defendant.
  _____________________________________/

                             ORDER ON NOTICE OF SETTLEMENT AND
                            DENYING ALL PENDING MOTIONS AS MOOT
            THIS CAUSE came before the Court upon Joint Notice of Settlement, [ECF No. 33],

  indicating that the parties have reached a settlement in this matter. It is hereby

            ORDERED AND ADJUDGED as follows:

            1.       The parties shall file a Motion for Preliminary Settlement Approval that complies

  with Federal Rule of Civil Procedure 23. Additionally, in light of the parties’ Joint Stipulation to

  Amend Complaint, [ECF No. 31], and the Plaintiffs’ stipulated Second Amended Complaint, [ECF

  No. 32], the parties shall provide authority as to why a nationwide settlement is appropriate for

  claims based solely on Florida statutory and common law.1

            2.       Additionally, the parties shall file either a Notice of Dismissal (if the Defendant has

  not served an answer or motion for summary judgment) or a Stipulation of Dismissal (signed by

  all parties who have appeared in this action), which must be filed with the Clerk of the Court;

  a proposed Order of Dismissal or Final Judgment; and any other documents necessary to conclude


  1
      Especially where there are no Named Plaintiffs residing outside the state of Florida.
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  this action on or before 45 days of the date of this Order.

         3.      The Clerk is DIRECTED to DENY ALL PENDING MOTIONS AS MOOT.

         4.      The Clerk shall ADMINISTRATIVELY CLOSE this case for statistical purposes

  only. This shall not affect the substantive rights of the parties.

         DONE AND ORDERED in Chambers at Miami, Florida, this 9th day of June, 2020.



                                                         ____________________________________
                                                         JOSE E. MARTINEZ
                                                         UNITED STATES DISTRICT JUDGE
  Copies provided to:
  Magistrate Judge Otazo-Reyes
  All Counsel of Record




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